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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF NEW YORK

                                   BINGHAMTON DIVISION


                                                      :
    DAVID POTTER, on behalf of himself and            :
    others similarly situated,                        :   Civil Action No.: 3:22-cv-00869-TJM-ML
                                                      :
                                Plaintiff,            :
                   v.                                 :
                                                      :
    TIOGA DOWNS RACETRACK, LLC,                       :
                                                      :
                                Defendant.            :
                                                      :

       PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
                COLLECTIVE AND CLASS ACTION SETTLEMENT


         TO DEFENDANT AND ITS ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE THAT Plaintiff David Potter, individually and on behalf of all

others similarly situated, will, and hereby does, move the Court pursuant to Federal Rule of Civil

Procedure 23 and 29 U.S.C. § 216(b), for an Order:

      1. Preliminarily approving the Settlement Agreement and all terms thereof; 1

      2. For purposes of effectuating the Settlement Agreement only, certifying the NYLL Class

         pursuant to Federal Rule of Civil Procedure 23, and certifying the FLSA Collective

         pursuant the Fair Labor Standards Act;

      3. Appointing David Potter as representative of the NYLL Class and FLSA Collective;




1
       All terms not otherwise defined herein have the definitions assigned to them in the parties’
Settlement Agreement.

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   4. Appointing the Law Office of Matthew D. Carlson as Class/Collective Counsel;

   5. Approving the Notice Form and notice plan (including the process of opting out and

       objecting to the settlement) pertaining thereto as set forth in Settlement Agreement;

   6. Appointing CAC Services Group, LLC as Settlement Administrator and directing the

       parties and the Settlement Administrator to proceed in accordance with the terms of the

       Settlement Agreement;

   7. Scheduling a Fairness Hearing regarding final approval of the Settlement Agreement, Class

       Counsel’s request for attorneys’ fees and costs, the Settlement Administrator’s fees and

       costs, and the service award to the named Plaintiff; and

   8. Removing all other current deadlines and hearings from the calendar.



       This Motion is based on this Notice of Motion and Motion; the Memorandum of Points

and Authorities below; the Declaration of Matthew D. Carlson filed concurrently herewith; any

supporting exhibits filed herewith; all other pleadings and papers filed in this action; and any

argument or evidence that may be presented at or prior to the hearing in this matter.




Respectfully submitted,


  Matthew D. Carlson
  (State Bar No. 5802681)
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  Orchard Park, NY 14127
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  Attorney for Plaintiff


Dated: June 23, 2023
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